                                                          Case 2:22-cv-02890-DMG-MRW Document 1 Filed 04/29/22 Page 1 of 8 Page ID #:1



                                                            1

                                                            2
                                                                RYAN D. SABA, ESQ. (State Bar No. 192370)
                                                                rsaba@rosensaba.com
                                                            3
                                                                MICHAEL FORMAN, ESQ. (State Bar No. 260224)
                                                                mforman@rosensaba.com
                                                            4
                                                                2301 Rosecrans Avenue, Suite 3180
                                                                El Segundo, CA 90245
                                                            5
                                                                Telephone: (310) 285-1727
                                                                Facsimile: (310) 285-1728
                                                            6
                                                                Attorneys for Plaintiff,
                                                            7
                                                                ROSA RECOVERY, LLC

                                                            8
                                                                                      UNITED STATES DISTRICT COURT
                                                            9
                                                                                     CENTRAL DISTRICT OF CALIFORNIA
2301 Rosecrans Avenue, Suite 3180, El Segundo, CA 90245




                                                           10

                                                           11
                                                                ROSA RECOVERY, LLC, a                       Case No.:
                                                           12
                                                                California limited liability company;
                                                           13                                               COMPLAINT FOR DAMAGES
                                                                        Plaintiff,
                                                           14                                               1. Breach of Contract
                                                           15     vs.                                       2. Common Count: Open Book
                                                                                                               Account
                                                           16
                                                                PHUNWARE, INC., a Delaware                  3. Common Count: Account Stated
                                                           17   corporation; and DOES 1-10;                 4. Common Count: Services Had and
                                                                                                               Provided
                                                           18
                                                                        Defendants.                         5. Quantum Meruit
                                                           19

                                                           20
                                                                                                            DEMAND FOR TRIAL BY JURY

                                                           21

                                                           22

                                                           23

                                                           24

                                                           25

                                                           26

                                                           27

                                                           28

                                                                                                        i
                                                                                            COMPLAINT FOR DAMAGES
                                                          Case 2:22-cv-02890-DMG-MRW Document 1 Filed 04/29/22 Page 2 of 8 Page ID #:2



                                                            1         TO THIS HONORABLE COURT AND ALL INTERESTED PARTIES:
                                                            2         COMES NOW Plaintiff ROSA RECOVERY, LLC alleges causes of action
                                                            3   against Defendants PHUNWARE INC. and DOES 1 through 10, inclusive
                                                            4   (collectively “Defendants”) for monetary relief as follows:
                                                            5

                                                            6                                    INTRODUCTION
                                                            7         1.     This is an action for money damages brought by Plaintiff Rosa
                                                            8   Recovery, LLC to recover money owed to it by Defendant Phunware, Inc. for legal
                                                            9   services rendered in connection with legal representation for the matter of Phunware,
2301 Rosecrans Avenue, Suite 3180, El Segundo, CA 90245




                                                           10   Inc. v. Uber Technologies, et al., San Francisco Superior Court case no. CGC-17-
                                                           11   561546 (“Uber Litigation”). Defendants have refused to pay the sum of at least
                                                           12   $112,074.00, plus interest, for legal services rendered by the law firm of Rosen Saba,
                                                           13   LLP in the Uber Litigation. Rosen Saba, LLP assigned its claims to Plaintiff.
                                                           14   Jurisdiction is based upon diversity.
                                                           15

                                                           16                                     THE PARTIES
                                                           17         2.     Plaintiff ROSA RECOVERY, LLC is a California limited liability
                                                           18   company with its principal place of business in Los Angeles, California (“Plaintiff”).
                                                           19         3.     Defendant PHUNWARE, INC. is a Delaware corporation with its
                                                           20   principal place of business in Austin, Texas (“Phunware”). Phunware is a company
                                                           21   engaged in the business of internet advertising.
                                                           22

                                                           23                             JURISDICTION AND VENUE
                                                           24         4.     This Court has jurisdiction over the subject matter of this action because
                                                           25   there is complete diversity of citizenship between the parties pursuant to 28 U.S.C.
                                                           26   §1332(a). Plaintiff Rosa Recovery, LLC is a California limited liability company
                                                           27   with its principal place of business in Los Angeles, California. Defendant Phunware
                                                           28   is a Delaware corporation with its principal place of business in Austin, Texas. The

                                                                                                         1
                                                                                              COMPLAINT FOR DAMAGES
                                                          Case 2:22-cv-02890-DMG-MRW Document 1 Filed 04/29/22 Page 3 of 8 Page ID #:3



                                                            1   amount in controversy exceeds the sum of $75,000, exclusive of interest and costs,
                                                            2   as the Complaint alleges that Plaintiff is owed at least $112,074.00 by Defendants.
                                                            3           5.     This Court has personal jurisdiction over all Defendants because they
                                                            4   conducted business and committed wrongful acts and/or directed wrongful acts
                                                            5   toward and/or that were committed in California giving rise to this Complaint,
                                                            6   causing injury in California. The exercise of personal jurisdiction over Defendants
                                                            7   is reasonable and proper because, at the time pertinent to these allegations,
                                                            8   Defendants transacted business and derived substantial revenue from services
                                                            9   rendered in the State of California. Defendants also filed a legal action in California
2301 Rosecrans Avenue, Suite 3180, El Segundo, CA 90245




                                                           10   Superior Court that give rise to the claims in this Complaint and entered into a written
                                                           11   contract in California that gave rise to this Complaint.
                                                           12           6.   Venue is proper in this District because a substantial part of the events
                                                           13   or omissions giving rise to this Complaint occurred, and a substantial part of property
                                                           14   that is the subject of the action is situated in this District. Further, all of the unpaid
                                                           15   work was performed in Los Angeles County, California.
                                                           16

                                                           17                               FACTUAL ALLEGATIONS
                                                           18           7.   On or about September 26, 2017, Phunware filed the Uber Litigation
                                                           19   complaint in San Francisco Superior Court for breach of contract, alleging that Uber
                                                           20   failed to pay Phunware’s bills for an internet advertising campaign it conducted for
                                                           21   Uber.
                                                           22           8.   In November 2017, Uber counter-sued Phunware, alleging fraud. After
                                                           23   the demurrer stage, the remaining four causes of action against Phunware in Uber’s
                                                           24   Cross-Complaint were fraudulent concealment; conspiracy to commit fraud;
                                                           25   negligence; and unfair competition (Business and Professions Code §17200).
                                                           26           9.   In May 2019, Phunware changed its legal counsel and retained the
                                                           27   Hansen Law Firm, P.C.
                                                           28

                                                                                                           2
                                                                                               COMPLAINT FOR DAMAGES
                                                          Case 2:22-cv-02890-DMG-MRW Document 1 Filed 04/29/22 Page 4 of 8 Page ID #:4



                                                            1           10.   On May 17, 2019, Uber sent a letter to various third-party defendants
                                                            2   that threatened litigation. On June 25, 2019, the third-party defendants retained the
                                                            3   law firm of Rosen Saba, LLP to defend them, pursuant to a written attorney-client
                                                            4   retainer agreement.
                                                            5           11.   On July 12, 2019, Uber filed a First Amended Cross-Complaint that
                                                            6   added four new individual defendants who were employed by Phunware during the
                                                            7   relevant time period. The individual defendants were Phunware’s Chief Executive
                                                            8   Officer and three former employees of Phunware (“third-party defendants”). Uber’s
                                                            9   First Amended Cross-Complaint alleged claims for RICO; conspiracy to violate
2301 Rosecrans Avenue, Suite 3180, El Segundo, CA 90245




                                                           10   RICO; and conspiracy to commit fraud against the individual defendants, in addition
                                                           11   to all the other claims previously asserted against Phunware. Phunware and
                                                           12   Phunware’s CEO were represented by the Hansen Law Firm.
                                                           13           12.   On or about October 24, 2019, Phunware, Phunware’s CEO, and the
                                                           14   third-party defendants entered into the Confidential Joint Defense/Common Interest
                                                           15   Agreement and Agreement to Defend and Indemnify (“Agreement”). The Agreement
                                                           16   was also signed by the Hansen Law Firm as attorney for Phunware and Phunware’s
                                                           17   CEO, as well as by Rosen Saba, LLP as counsel for the third-party defendants.
                                                           18           13.   The terms of the Agreement required Phunware to pay for defense of
                                                           19   the third-party defendants, including attorney’s fees and costs. The Agreement states
                                                           20   in pertinent part: “Phunware, Inc. agrees to provide for the defense of the [third-party
                                                           21   defendants] in the Uber Dispute by paying their attorney’s fees and all reasonable
                                                           22   costs necessary to defend the Uber Dispute incurred through the law firm Rosen Saba,
                                                           23   LLP.”
                                                           24           14.   Regarding the payment of attorney’s fees, the Agreement states: “Rosen
                                                           25   Saba, LLP will charge reduced hourly rates to Phunware, Inc. so long as payment is
                                                           26   received within 60 days from the date of submission of each invoice… The invoices
                                                           27   of Rosen Saba, LLP will be sent to the Hansen Law Firm, P.C. for review and
                                                           28   approval before submission to Phunware, Inc. for payment. Time will be billed in

                                                                                                          3
                                                                                              COMPLAINT FOR DAMAGES
                                                          Case 2:22-cv-02890-DMG-MRW Document 1 Filed 04/29/22 Page 5 of 8 Page ID #:5



                                                            1   1/10 of an hour increments. Phunware will be responsible to pay for past and future
                                                            2   time and costs incurred by Rosen Saba, LLP.”
                                                            3         15.    Regarding the payment of costs, the Agreement states: “Phunware will
                                                            4   also reimburse Rosen Saba, LLP for reasonable costs incurred in the defense of the
                                                            5   Uber Dispute.”
                                                            6         16.    On or about October 9, 2020, Uber Litigation was resolved. The
                                                            7   defendants were dismissed in November 2020.
                                                            8         17.    As of December 31, 2020, Phunware owed $418,662.65. Demand for
                                                            9   payment for Phunware’s unpaid legal bills was made.
2301 Rosecrans Avenue, Suite 3180, El Segundo, CA 90245




                                                           10         18.    Phunware made periodic payments in 2021. However, by June 2021,
                                                           11   Phunware still owed $200,000 for its unpaid legal bills. Phunware then stopped
                                                           12   making payments for the outstanding debt.
                                                           13         19.    As of the date of the filing of this Complaint, Phunware has refused and
                                                           14   continues to refuse to make payment for its unpaid legal bills.
                                                           15

                                                           16                                 FIRST CAUSE OF ACTION
                                                           17                                    Breach of Contract
                                                           18                             (Plaintiff against all Defendants)
                                                           19         20.    Plaintiff refers to and incorporates paragraphs 1 through 19 as though
                                                           20   fully set forth herein.
                                                           21         21.    In accordance with the terms and conditions of the Agreement,
                                                           22   Phunware was required to pay legal invoices for services and costs for the defense of
                                                           23   the third-party defendants.
                                                           24         22.    All of the conditions, covenants, and promises under the Agreement
                                                           25   were performed by Rosen Saba, LLP.
                                                           26         23.    The principal amount of at least $112,074.00, exclusive of interest,
                                                           27   remains unpaid. Demand for payment was made to Defendants to perform upon the
                                                           28

                                                                                                         4
                                                                                               COMPLAINT FOR DAMAGES
                                                          Case 2:22-cv-02890-DMG-MRW Document 1 Filed 04/29/22 Page 6 of 8 Page ID #:6



                                                            1   terms and conditions of the Agreement, and for payment for its services, but
                                                            2   Defendants have refused and failed to make payment.
                                                            3            24.    As a direct result of Defendants’ breach of contract, Plaintiff has
                                                            4   suffered damages in the amount of at least $112,074.00, plus interest. Defendants’
                                                            5   breach of the Agreement was a substantial factor in causing harm to Plaintiff.
                                                            6            25.    Plaintiff is entitled to interest in an amount to be proven at the time of
                                                            7   trial.
                                                            8

                                                            9                               SECOND CAUSE OF ACTION
2301 Rosecrans Avenue, Suite 3180, El Segundo, CA 90245




                                                           10                  Common Count: Open Book Account and Account Stated
                                                           11                               (Plaintiff against all Defendants)
                                                           12            26.    Plaintiff refers to and incorporates paragraphs 1 through 19 as though
                                                           13   fully set forth herein.
                                                           14            27.    There was an open book account in which financial transactions
                                                           15   between the parties were recorded in the regular course of business, and Defendants
                                                           16   owe Plaintiff money on the account. Defendants became indebted to Plaintiff for
                                                           17   total money due and owing in the amount of at least $112,074.00 on said open book
                                                           18   account for services and costs provided to Defendants, at Defendants’ request, and
                                                           19   for Defendant’s use, and therefore, leaving due and owing from Defendants to the
                                                           20   Plaintiff on said account the sum of at least $112,074.00.
                                                           21            28.    Plaintiff is entitled to interest in an amount to be proven at the time of
                                                           22   trial.
                                                           23

                                                           24                                THIRD CAUSE OF ACTION
                                                           25                               Common Count: Account Stated
                                                           26                               (Plaintiff against all Defendants)
                                                           27            29.    Plaintiff refers to and incorporates paragraphs 1 through 19 as though
                                                           28   fully set forth herein.

                                                                                                            5
                                                                                                 COMPLAINT FOR DAMAGES
                                                          Case 2:22-cv-02890-DMG-MRW Document 1 Filed 04/29/22 Page 7 of 8 Page ID #:7



                                                            1            30.   Defendants owe Plaintiff money on an account stated. Defendants
                                                            2   became indebted to Plaintiff for total money due and owing in the amount of at least
                                                            3   $112,074.00 for services and costs provided to Defendants, at Defendants’ request,
                                                            4   and for Defendant’s use, and therefore, leaving due and owing from Defendants to
                                                            5   the Plaintiff on said account the sum of at least $112,074.00. Defendants do not
                                                            6   dispute that the amount Plaintiff claims to be due from Defendants correctly reflects
                                                            7   services and costs actually provided.
                                                            8            31.   Plaintiff is entitled to interest in an amount to be proven at the time of
                                                            9   trial.
2301 Rosecrans Avenue, Suite 3180, El Segundo, CA 90245




                                                           10

                                                           11                              FOURTH CAUSE OF ACTION
                                                           12                       Common Count: Services Had and Provided
                                                           13                              (Plaintiff against all Defendants)
                                                           14            32.   Plaintiff refers to and incorporates paragraphs 1 through 19 as though
                                                           15   fully set forth herein.
                                                           16            33.   In 2020 and 2021, services were provided to Defendants by providing
                                                           17   legal services and representation.
                                                           18            34.   Despite services being provided, and despite Plaintiff’s demand on
                                                           19   Defendants for payment, Defendants have failed and refused to make payment.
                                                           20            35.   As a direct and proximate result of Defendants’ failure to pay for the
                                                           21   services provided, and despite Plaintiff’s demand therefor, there still currently
                                                           22   remains due and owing the amount of at least $112,074.00.
                                                           23            36.   Plaintiff is entitled to interest in an amount to be proven at the time of
                                                           24   trial.
                                                           25   ///
                                                           26   ///
                                                           27   ///
                                                           28   ///

                                                                                                           6
                                                                                                COMPLAINT FOR DAMAGES
                                                          Case 2:22-cv-02890-DMG-MRW Document 1 Filed 04/29/22 Page 8 of 8 Page ID #:8



                                                            1                              FIFTH CAUSE OF ACTION
                                                            2                                     Quantum Meruit
                                                            3                             (Plaintiff against all Defendants)
                                                            4         37.    Plaintiff refers to and incorporates paragraphs 1 through 19 as though
                                                            5   fully set forth herein.
                                                            6         38.    Services were performed for Defendants at Defendants’ request and
                                                            7   pursuant to the Agreement with Defendants for which full compensation was not
                                                            8   paid. Plaintiff is entitled to the reasonable value of its services and costs associated
                                                            9   with the representation of Defendants.
2301 Rosecrans Avenue, Suite 3180, El Segundo, CA 90245




                                                           10

                                                           11                             DEMAND FOR JURY TRIAL
                                                           12         39.    Plaintiff demands a trial by jury.
                                                           13

                                                           14                                 PRAYER FOR RELIEF
                                                           15         WHEREFORE, Plaintiff Rosa Recovery, LLC prays for judgment against
                                                           16   Defendants Phunware and DOES 1 through 10 as follows:
                                                           17         1.     For the monetary value of the services and costs provided to the
                                                           18                Defendant in the amount of at least $112,074.00;
                                                           19         2.     For interest at the legal rate of ten percent (10%) per annum;
                                                           20         3.     Cost incurred; and
                                                           21         4.     For such other and further relief as the Court may deem necessary and
                                                           22                proper.
                                                           23   DATED: April 29, 2022
                                                           24
                                                                                                         By:   _________________________
                                                           25
                                                                                                               RYAN D. SABA, ESQ.
                                                           26                                                  MICHAEL FORMAN, ESQ.
                                                                                                               Attorneys for Plaintiff,
                                                           27
                                                                                                               ROSA RECOVERY, LLC
                                                           28

                                                                                                          7
                                                                                              COMPLAINT FOR DAMAGES
